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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ALEXANDRA MATALAVAGE,

                                  PLAINTIFF,                    DEFENDANT MICHAEL
                                                                FILICETTI’S RESPONSE TO
                        V.                                      PLAINTIFF’S FIRST SET OF
                                                                INTERROGATORIES
COUNTY OF NIAGARA, ET AL.,
                                                                Civil Action No. 20-CV-01254
                                  DEFENDANTS.



        Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant, Michael Filicetti

(“Defendant” or “Filicetti”), objects and responds as follows to Plaintiff’s First Set of

Interrogatories (the “Interrogatories”). Defendant’s responses to the Interrogatories are made

without waiving or intending to waive but, on the contrary, intending to reserve and reserving:

        a.       the right to object to the competence, relevance, materiality, privilege and

admissibility as evidence for any purpose of the answers, responses, objections or documents, or

the subject matter thereof, in any aspect of this or any other action, arbitration, proceeding or

investigation;

        b.       the right to object on any ground to the use of the answers, responses, objections or

documents, or the subject matter thereof, in any aspect of this or any other action, arbitration,

proceeding or investigation;

        c.       the right to object at any time to any other interrogatories; and

        d.       the right at any time to revise, supplement, correct or add to this response.

                                     GENERAL OBJECTIONS

        1.       Defendant objects to the Interrogatories on the grounds and to the extent they ask

for privileged information, including, without limitation, information that is protected by the

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attorney-client privilege, that is protected by the attorney work product doctrine, that was prepared

in anticipation of litigation, that constitutes or discloses the mental impressions, conclusions,

opinions, legal theories or strategies of any attorney or representative of Defendant concerning this

or any other litigation, or that is protected by any other privilege or immunity.

        2.     Defendant objects to the Interrogatories to the extent they impose obligations or

seek information beyond what is permitted by the Federal Rules of Civil Procedure (“FRCP”) and

Local Rules of Civil Procedure for the Western District of New York (the “Local Rules”) and any

other applicable rules.

        3.     Defendant objects to the Interrogatories on the grounds and to the extent they

purport to require the furnishing of information that is already in the possession of, or otherwise

available to, Plaintiff, is publicly available, or is not within the possession, custody, or control of

Defendant.

        4.     Defendant objects to the Interrogatories to the extent that they are repetitive and/or

individual requests substantially overlap with other individual requests.

        5.     Defendant objects to the Interrogatories to the extent they are overly broad, unduly

burdensome and oppressive, or seek information that is neither material and necessary to the

prosecution or defense of this action nor reasonably calculated to lead to the discovery of

admissible evidence.

        6.     Defendant objects to the Interrogatories to the extent they do not reference a

specific time frame, and to the extent any such requests reference a time frame that is (i)

overbroad; and/or (ii) not reasonably calculated to lead to the discovery of admissible evidence.

        7.     Defendant objects to the Interrogatories to the extent they seek conclusions of law

and not the discovery of facts.


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        8.       Defendant objects to the Interrogatories on the grounds and to the extent they seek

proprietary and/or confidential information.

        9.       These General and Continuing Objections are incorporated in each response set

forth below and shall be deemed to be continuing even though not specifically referred to in each

response to each specific request.

                                SPECIFIC OBJECTIONS AND
                             RESPONSES TO INTERROGATORIES

        Subject to the foregoing General and Continuing Objections and the specific objections set

forth below, and without waiving and expressly preserving all such objections, and based on the

documents and information Defendant has identified and collected to date, Defendant responds to

the Interrogatories as set forth below.

        The specific responses set forth below are based upon information now available to

Defendant, and Defendant reserves the right at any time to revise, correct, add to, or clarify the

objections or responses set forth herein.

        Each response contained herein shall be deemed as answering the interrogatory

immediately preceding it and all other interrogatories to which it is factually and/or legally

responsive.

        INTERROGATORY 1                   Please state how long Defendant Filicetti has been employed

by the Niagara County Sheriff’s Office, what positions Defendant Filicetti has held, and the dates

Defendant Filicetti has occupied each position.

        RESPONSE: Subject to and without waiving the General and Continuing Objections,

        Defendant has been employed by the Niagara County Sheriff’s Office as follows:

                Sheriff; elected 1/1/2021
                Acting Sheriff from 1/1/2020
                Undersheriff from 1/1/2012
                Captain from 1/20/2008
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                Sergeant from 8/26/2007
                Hired as Deputy Sheriff on 9/22/1997

        INTERROGATORY 2                Please identify all documents prepared or maintained by the

Defendant Filicetti, and any personal diaries, memoranda, or other documents prepared or

maintained by Defendant Filicetti or any other Defendant, consulted by Defendant Filicetti in

responding to these requests.

        RESPONSE: Please see the documents produced in response to Plaintiff’s First Request

        for Production of Documents and, specifically, the documents produced in response to

        Demand No. 1.

        INTERROGATORY 3                Please identify all communications, and set forth the

substance of all non-privileged communications Defendant Filicetti received from any individual,

including, but not limited to the other Defendants and each of their representatives, concerning the

investigation of Plaintiff Matalavage’s performance or non-performance of her duties during the

time period 2018-2019.

        RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Request as overly broad and unduly burdensome in that it requires Defendant to

        identify “all” communications with “any” individual concerning the investigation of

        Plaintiff’s performance or non-performance of her duties during the time period 2018-

        2019, without regard to the relevance of such communications, and thus seeks information

        that is neither relevant to the subject matter of this litigation nor proportional to the needs

        of this case. Defendant further objects to the use of the undefined terms “performance or

        non-performance of her duties” which are extremely broad and susceptible to many

        different meanings and interpretations so as to make it difficult to respond meaningfully

        and accurately.

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               Subject to and without waiving the foregoing objections, please see the documents

        produced in response to Plaintiff’s First Request for Production of Documents for

        documents regarding the investigation of Plaintiff’s rounding failures.

        INTERROGATORY 4                Please identify the person(s) involved in the decision to

discipline the Plaintiff for alleged time violations involving inconsistencies between her log

entries and swipes recorded in Defendants’ electronic access control system and describe in

precise detail exactly what each person identified did, and when he or she did it, in connection

with the decision.

        RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Request as it is overly broad, unduly burdensome, and duplicative. Please see

        Defendant County of Niagara’s Response to Interrogatory No. 13

        INTERROGATORY 5                Please identify all communications Defendant Filicetti had

with employees of Defendants, and set forth the substance of all non-privileged communications

Defendant Filicetti had with any individual, including, but not limited to the other Defendants and

their representatives, concerning EEOC Charges 525-2019-00825, 525-2019-01124 and 525-

2019-01448.

        RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Request as overly broad and unduly burdensome in that it requires Defendant to

        identify “all” communications with “any” individual concerning EEOC Charges 525-2019-

        00825, 525-2019-01124 and 525-2019-01448 without regard to the relevance of such

        communications, and thus seeks information that is neither relevant to the subject matter of

        this litigation nor proportional to the needs of this case. Defendants further object to this

        request to the extent is seeks information protected by the attorney client and/or work

        product privilege.
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        INTERROGATORY 6                Please identify all communications, and set forth the

substance of all non-privileged communications Defendant Filicetti had with any individual,

including, but not limited to the other Defendants and their representatives, concerning the

Commission of Corrections’ Minimum Standards Evaluation dated April 2018.

        RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Request as overly broad and unduly burdensome in that it requires Defendant to

        identify “all” communications with “any” individual regarding the Commission of

        Corrections’ Minimum Standards Evaluation in April 2018, without regard to the

        relevance of such communications, and thus seeks information that is neither relevant to

        the subject matter of this litigation nor proportional to the needs of this case.

        INTERROGATORY 7                Please identify all communications, and set forth the

substance of all non-privileged communications Defendant Filicetti had with any individual,

including, but not limited to the other Defendants and their representatives, concerning the

implementation of the Electronic Supervisory Round Review procedure in the Niagara County

Jail.

        RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Request as overly broad and unduly burdensome in that it requires Defendant to

        identify “all” communications with “any” individual regarding the implementation of the

        Electronic Supervisory Round Review procedure in the Niagara County Jail, without

        regard to the relevance of such communications, and thus seeks information that is neither

        relevant to the subject matter of this litigation nor proportional to the needs of this case.

        INTERROGATORY 8                Please describe all actions undertaken by Defendants

between April 9, 2019 and July 1, 2019, inclusive, that communicated to Plaintiff details and

specific information concerning her alleged violation of the Employer’s procedures, rules and
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regulations, and information as to how she might avoid violations of those rules and regulations in

the future.

         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this request as it is so vague and confusingly worded that it is impossible to respond

        meaningfully and accurately. Defendant further objects to this request as it seeks

        information that is neither relevant to the subject matter of this litigation nor proportional

        to the needs of this case.

        INTERROGATORY 9                Please identify the employee(s) of the Niagara County

Sheriff’s Office who participated in the decision to charge Plaintiff with a crime and describe in

precise detail exactly what each person identified did, and when he or she did it, in connection

with the decision.

         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Interrogatory as it is duplicative. Please see Defendant County of Niagara’s Response

        to Interrogatory No. 14.

        INTERROGATORY 10               Who authorized the offer communicated to Plaintiff on June

11, 2019, to refrain from charging Plaintiff with a crime if she resigned from her position and

withdrew her EEOC charge?

         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        the use of the undefined term “authorized,” which is extremely broad and susceptible to

        many different meanings and interpretations so as to make it difficult to respond

        accurately. Defendant further objects to this request on the grounds and to the extent it asks

        for information protected by the attorney-client privilege. Defendant further objects to this

        request on the grounds and to the extent it mischaracterizes communications to Plaintiff on

        June 11, 2019.
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        INTERROGATORY 11               Who authorized the offer communicated to Plaintiff on or

about June 21, 2019, to drop all criminal charges against Plaintiff, provide a neutral letter of

reference and not protest an application for unemployment insurance benefits if Plaintiff resigned

and withdrew her EEOC charge?

         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        the use of the undefined term “authorized,” which is extremely broad and susceptible to

        many different meanings and interpretations so as to make it difficult to respond

        accurately. Defendant further objects to this request on the grounds and to the extent it asks

        for information protected by the attorney-client privilege. Defendant further objects to this

        request on the grounds and to the extent it mischaracterizes communications to Plaintiff on

        June 21, 2019.

        INTERROGATORY 12               Who authorized the offer communicated to Plaintiff on or

about June 25, 2019, to enter a last chance agreement with Plaintiff and impose a 60-day

suspension without pay instead of a resignation?

         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        the use of the undefined term “authorized,” which is extremely broad and susceptible to

        many different meanings and interpretations so as to make it difficult to respond

        accurately. Defendant further objects to this request on the grounds and to the extent it asks

        for information protected by the attorney-client privilege. Defendant further objects to this

        request on the grounds and to the extent it mischaracterizes communications to Plaintiff on

        June 25, 2019.

        INTERROGATORY 13               Who authorized the offer communicated to Plaintiff on or

about June 27, 2019, to accept a 60-day suspension and withdraw her EEOC charge without a last

chance agreement?
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         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        the use of the undefined term “authorized,” which is extremely broad and susceptible to

        many different meanings and interpretations so as to make it difficult to respond

        accurately. Defendant further objects to this request on the grounds and to the extent it asks

        for information protected by the attorney-client privilege. Defendant further objects to this

        request on the grounds and to the extent it mischaracterizes communications to Plaintiff on

        June 27, 2019.

               Subject to and without waiving the foregoing objections, please see Defendant

        Kevin Payne’s Response to Interrogatory No. 18.

        INTERROGATORY 14              Please state why withdrawal of Plaintiff’s EEOC charges

was made a condition of her continued employment in June 2019.

         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        the improper wording of this request. Withdrawal of EEOC charged was never made a

        condition of Plaintiff’s employment with Defendants County of Niagara and Sheriff of the

        County of Niagara.

        INTERROGATORY 15              Please identify the scope of Defendant Filicetti’s

responsibilities at the Niagara County Jail for personnel decisions.

         RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        the use of the undefined terms “scope,” “responsibilities,” and “personnel decisions” which

        are all extremely broad and susceptible to many different meanings and interpretations

        such that it is impossible to respond meaningfully or accurately.

        INTERROGATORY 16              Concerning the Felony Complaints against the Plaintiff

signed by Brian Harrer, please state the following:

        a)     Who authorized the preparation of the felony complaints;
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        b)     On what date were the felony complaints prepared;

        c)     What communication did Defendant Filicetti have with Lt. Harrer concerning the

felony complaints.

        RESPONSE: Subject to and without waiving the General and Continuing Objections, the

preparation of the felony complaints which resulted in Plaintiff’s guilty plea were authorized by

Mary Jean Bowman and Ryan Parisi, both Assistant District Attorneys for Defendant Niagara

County. Defendant does not presently recall the date on which the felony complaints which

resulted in Plaintiff’s guilty plea were prepared. Defendant objects to the remainder of this request

as it is overly broad, unduly burdensome, and seeks information that is neither relevant to the

subject matter of this litigation nor proportional to the needs of this case.

        INTERROGATORY 17               Please identify all communications Defendant Filicetti had

with employees of Niagara County District Attorney, and set forth the substance of all non-

privileged communications Defendant Filicetti received from any individual, including, but not

limited to including, but not limited to employees of the Niagara County District Attorney, other

employees of Defendants. and their representatives, concerning People v. Matalavage, Lockport

Town Court Case No. 19080278.

        RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Request as overly broad and unduly burdensome in that it requires Defendant to

        identify “all” communications with “any” individual concerning People v. Matalavage,

        Lockport Town Court Case No. 19080278 without regard to the relevance of such

        communications, and thus seeks information that is neither relevant to the subject matter of

        this litigation nor proportional to the needs of this case. Defendants further object to this

        request to the extent it seeks information protected by the attorney client and/or work

        product privileges.
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        INTERROGATORY 18              State whether the Defendants regard written policies and

written rules concerning employee conduct as binding on the Defendants.

        RESPONSE: In addition to the General and Continuing Objections, Defendant objects to

        this Interrogatory as it is duplicative. Please see Defendant Kevin Payne’s Response to

        Interrogatory No. 20.

        INTERROGATORY 19              Please identify any and all individuals who assisted

Defendant Filicetti in preparing his responses to these requests.

        RESPONSE: Michael E. Hickey, Esq. and Riane F. Lafferty, Esq., attorneys for

        Defendants, Director of Human Resources for Defendant, County of Niagara, Peter P.

        Lopes, and Manager of Labor Relations for Defendant, County of Niagara, Joseph A.

        Provino, Defendant, Michael Filicetti, and Defendant, Kevin Payne.




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Dated:        Buffalo, New York           BOND, SCHOENECK & KING, PLLC
              October 21, 2021
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